
717 S.E.2d 379 (2011)
Earl J. SMITH
v.
TD AMERITRADE, INC., Brian Fehr, and Donna Givner.
No. 253P11.
Supreme Court of North Carolina.
August 25, 2011.
John C. Randall, for Smith, Earl J.
Johnny M. Loper, Raleigh, for TD Ameritrade, Inc., et al.

ORDER
Upon consideration of the petition filed on the 20th of June 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
